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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.
                                                           Case No. 22-mj-203-3
 THOMAS CAREY,

              Defendant.


                                             ORDER

       Defendant Thomas Carey has filed a motion seeking an order granting authorization for

international travel and for the temporary release of his passport so that he may travel abroad for

the period from December 28, 2022, to January 16, 2023. ECF No. 38. The government opposes

the request. ECF No. 40.

       The government acknowledges that Defendant is charged only with misdemeanors and that

he has been compliant with his conditions of release. Id. at 2; see also ECF No. 45 (Pretrial Ser-

vices Compliance report). It further admits that it knows of no “particular facts” that indicate that

he is a flight risk. ECF No. 40 at 2. The government makes no representation that Defendant is a

danger to the community. Rather, it asserts that allowing Defendant to embark on international

travel “does not seem appropriate while taxpayers are funding his legal fees.” Id.

       The Court has required Defendant to file an updated financial affidavit and is satisfied that

he continues to be eligible for legal representation at public expense. While the Court does not

minimize the seriousness of the crimes with which Defendant is charged in connection with the

events at the Capitol on January 6, 2021, in these circumstances, where the government does not

argue that he is a flight risk or danger and he has been compliant with his conditions of pretrial

release, the Court will grant the request. Cf. United States v. Alden, 420 F.2d 176, 179 (D.C. Cir.

1969) (“It is not the purpose of the bail system either to punish an accused for his past crimes, or
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to punish him in advance for crimes he has not yet been shown to have committed.”). Accordingly,

it is hereby

          ORDERED that Defendant’s motion for authorization for international travel and tempo-

rary release of his U.S. passport (ECF No. 38) is GRANTED. It is further

          ORDERED that Defendant is authorized to travel internationally for the period of time

commencing on December 28, 2022, returning to the United States on January 16, 2023. It is

further

          ORDERED that, while abroad, Defendant must contact the U.S. Pre-trial Services Agency

for the Western District of Pennsylvania, which is currently providing courtesy supervision, on a

weekly basis. He shall contact his supervising U.S. Pre-Trial Services Officer within forty-eight

(48) hours of his return to the United States. It is further

          ORDERED that Defendant may seek the release of his U.S. Passport from the U.S. District

Court for the Western District of Pennsylvania on or before December 22, 2022. Furthermore,

Defendant will surrender his U.S. passport to the U.S. District Court Clerk's Office for the Western

District of Pennsylvania within seventy-two (72) hours of his return to the United States.



          SO ORDERED.                                                   Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2022.11.17
Date: November 17, 2022                                _______________________________
                                                                        14:46:36 -05'00'
                                                       G. Michael Harvey
                                                       United States Magistrate Judge
